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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

 STATE AUTO PROPERTY AND
 CASUALTY INSURANCE CO.,

                        Plaintiff,

        v.                                              Case No.

 TAYLOR FORTUNE GROUP                                              JURY DEMAND
 TENNESSEE, LLC,

                        Defendant.


                     COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff State Auto Property and Casualty Insurance Co. (“State Auto”), through counsel,

files this Complaint for Declaratory Judgment against Defendant Taylor Fortune Group Tennessee

LLC (“Defendant”), showing this Court as follows:

                                     NATURE OF THE ACTION

       1.      State Auto brings this action under 28 U.S.C. §§ 2201–2202 and Federal Rule of

Civil Procedure 57 to obtain a declaration of the parties’ rights and obligations under an insurance

policy issued by State Auto to Defendant (“the Policy”). Defendant has tendered a claim under the

Policy for a lawsuit filed in the Superior Court of the State of California for the County of Alameda

(“the Underlying Action”). Based on the plain language of the Policy, State Auto denies it has any

duty to defend or indemnify Defendant in connection with the Underlying Action. The Underlying

Action does not fall within any of the Policy’s coverage provisions, and even if it did, unambiguous

exclusions also eliminate any possibility of coverage. State Auto thus seeks a declaratory judgment

that it has no duty to defend or indemnify Defendant in connection with the Underlying Action.
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                                           THE PARTIES

          2.    Plaintiff State Auto Property and Casualty Insurance Co. is incorporated in the State

of Iowa and has its principal place of business in the State of Ohio.

          3.    Defendant Taylor Fortune Group Tennessee LLC is a limited liability company

organized and existing under the laws of the State of Louisiana.

          4.    Defendant does business as “TFGroup LLC.” TFGroup LLC is also the name of a

separate limited liability company organized and existing under the laws of the State of Louisiana.

          5.    James Shelton is a registered agent for Defendant.

          6.    TFGroup LLC’s registered agent is James Shelton.

          7.    Defendant’s members are James Shelton and Matthew Martin.

          8.    TFGroup LLC’s members are James Shelton and Matthew Martin.

          9.    James Shelton is domiciled in, and a citizen of, the State of Louisiana.

          10.   Matthew Martin is domiciled in, and a citizen of, the State of Louisiana.

                                    JURISDICTION AND VENUE

          11.   This Court has subject-matter jurisdiction under 28 U.S.C. § 1332(a)(1). State Auto

and Defendant are citizens of different States. State Auto is a citizen of Iowa and Ohio. Defendant

is a citizen of Louisiana. The value of the matter in controversy exceeds $75,000, exclusive of

interest and costs.

          12.   Under 28 U.S.C. §§ 2201 and 2202, this Court has jurisdiction to “declare the rights

and other legal relations of any interested party seeking such declaration.” 28 U.S.C. § 2201(a).

An actual and ripe controversy has arisen between the parties about any coverage owed under the

Policy.

          13.   Defendant is subject to personal jurisdiction in the State of Louisiana. Defendant is

organized under the laws of the State of Louisiana, the insurance policy in question was issued and


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delivered to Defendant in Metairie, Louisiana, and Defendant’s members are citizens of the State

of Louisiana.

       14.      This Court is the proper venue under 28 U.S.C. § 1391(b). Defendant’s registered

office address and mailing address is in Metairie, Louisiana, which is located within this District.

A substantial part of the events or omissions giving rise to this claim occurred within this District.

Defendant is subject to this Court’s personal jurisdiction.

                                           BACKGROUND

I.     The Policy

       15.      In January 2020, State Auto issued a business insurance policy bearing policy

number PBP 2855775 01 to Defendant for the policy period from February 5, 2020, to February

5, 2021 (“the Renewal Policy”). The Renewal Policy was issued and delivered to Defendant in

Metairie, Louisiana. A true and correct copy of the Renewal Policy is attached to this Complaint

as Exhibit A.

       16.      The Renewal Policy renewed the business insurance policy bearing policy number

PBP 2855775 00 that was issued in February 2019 by State Auto to Defendant for the policy period

from February 5, 2019, to February 5, 2020 (“the Original Policy”). The Original Policy was issued

and delivered to Defendant in Metairie, Louisiana. A true and correct copy of the Original Policy

is attached to this Complaint as Exhibit B.

       17.      In general, the Renewal Policy refers to and incorporates the terms of the Original

Policy. Thus, this Complaint refers to the Renewal Policy and Original Policy collectively as “the

Policy.”

       18.      Throughout the Policy, the terms “we,” “us,” and “our” refer to State Auto, and the

terms “you” and “your” include Defendant.

       19.      The Policy provides four forms of insurance: commercial general liability (“CGL”)


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coverage, commercial property coverage, employment practice liability coverage, and commercial

umbrella coverage. The Policy’s commercial property coverage form and employment practice

liability coverage form do not even potentially or arguably apply here; Defendant seeks defense

and indemnity from State Auto for the Underlying Action under the Policy’s CGL and umbrella

coverage forms only. All insurance coverage, however, is subject to the Policy’s terms, and State

Auto has no duty to defend or indemnify Defendant in connection with the Underlying Action.

       A.     The Commercial General Liability Coverage Form

       20.    Coverage A in Section I of the Policy’s CGL form (“CGL Coverage A”) provides

coverage for “bodily injury” and “property damage” that is caused by an “occurrence,” subject to

the Policy’s terms. Form CG0001 (04/13) at 1.

       21.    As used in the CGL form, “Bodily injury” means “bodily injury, sickness or disease

sustained by a person, including death, shock, mental anguish or mental injury sustained by that

person at any time resulting from the bodily injury, sickness or disease.” Form SL4000 (12/15) at

5; cf. Form CG0001 (04/13) at 12.

       22.    The CGL form generally defines “Property damage” as follows:

              “Property damage” means:
              a. Physical injury to tangible property, including all resulting loss of
                  use of that property. All such loss of use shall be deemed to
                  occur at the time of the physical injury that caused it; or
              b. Loss of use of tangible property that is not physically injured. All
                  such loss of use shall be deemed to occur at the time of the
                  “occurrence” that caused it.
              For the purposes of this insurance, electronic data is not tangible
              property.
              As used in this definition, electronic data means information, facts or
              programs stored as or on, created or used on, or transmitted to or
              from computer software, including systems and applications
              software, hard or floppy disks, CD-ROMs, tapes, drives, cells, data
              processing devices or any other media which are used with
              electronically controlled equipment.

Form CG0001 (04/13) at 14.


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          23.   A separate (but similar) definition of “Property damage” applies when an insured

seeks coverage under Part 12 of Form SL1202 (12/15):

                “Property damage” means:
                a. Physical injury to tangible property, including all resulting loss of
                    use of that property. All such loss of use shall be deemed to
                    occur at the time of the physical injury that caused it.
                b. Loss of use of tangible property that is not physically injured. All
                    such loss of use shall be deemed to occur at the time of the
                    “occurrence” that caused it; or
                c. Loss of, loss of use of, damage to, corruption of, inability to
                    access, or inability to properly manipulate “electronic data”
                    resulting from physical injury to tangible property. All such loss
                    of “electronic data” shall be deemed to occur at the time of the
                    “occurrence” that caused it.
                For the purposes of this insurance, “electronic data” is not tangible
                property.

Form SL1202 (12/15) at 5.

          24.   As used in the CGL form, “Occurrence” means “an accident, including continuous

or repeated exposure to substantially the same general harmful conditions.” Form CG0001 (04/13)

at 13.

          25.   CGL Coverage A itself contains exclusions. See Form CG0001 (04/13) at 1–5.

          26.   Exclusion 2(j) to CGL Coverage A is titled “Damage to Property.” That exclusion

states:




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               This insurance does not apply to:
               ***
               j. Damage To Property
                   “Property damage” to:
                   (1) Property you own, rent, or occupy, including any costs or
                        expenses incurred by you, or any other person, organization
                        or entity, for repair, replacement, enhancement, restoration
                        or maintenance of such property for any reason, including
                        prevention of injury to a person or damage to another’s
                        property;
                   (2) Premises you sell, give away or abandon, if the “property
                        damage” arises out of any part of those premises;
                   (3) Property loaned to you;
                   (4) Personal property in the care, custody or control of the
                        insured;
                   (5) That particular part of real property on which you or any
                        contractors or subcontractors working directly or indirectly
                        on your behalf are performing operations, if the “property
                        damage” arises out of those operations; or
                   (6) That particular part of any property that must be restored,
                        repaired or replaced because “your work” was incorrectly
                        performed on it.
                   Paragraphs (1), (3) and (4) of this exclusion do not apply to
                   “property damage” (other than damage by fire) to premises,
                   including the contents of such premises, rented to you for a
                   period of seven or fewer consecutive days. A separate limit of
                   insurance applies to Damage To Premises Rented To You as
                   described in Section III - Limits Of Insurance.
                   Paragraph (2) of this exclusion does not apply if the premises
                   are “your work” and were never occupied, rented or held for
                   rental by you.
                   Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to
                   liability assumed under a sidetrack agreement.
                   Paragraph (6) of this exclusion does not apply to “property
                   damage” included in the “products-completed operations
                   hazard”.

Form CG0001 (04/13) at 4.

       27.     Coverage B in Section I of the Policy’s CGL form (“CGL Coverage B”) provides

coverage for “personal and advertising injury” to which the Policy applies, subject to the Policy’s

terms. Form CG0001 (04/13) at 5.

       28.     Under CGL Coverage B, State Auto has “no duty to defend the insured against any



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‘suit’ seeking damages for ‘personal and advertising injury’ to which this insurance does not

apply.” Form CG0001 (04/13) at 5.

       29.    The CGL form defines “Personal and advertising injury” as follows:

              “Personal and advertising injury” means injury, including
              consequential “bodily injury”, arising out of one or more of the
              following offenses:
              a. False arrest, detention or imprisonment;
              b. Malicious prosecution;
              c. The wrongful eviction from, wrongful entry into, or invasion of the
                   right of private occupancy of a room, dwelling or premises that a
                   person occupies, committed by or on behalf of its owner, landlord
                   or lessor;
              d. Oral or written publication, in any manner, of material that
                   slanders or libels a person or organization or disparages a
                   person’s or organization’s goods, products or services;
              e. Oral or written publication, in any manner, of material that
                   violates a person’s right of privacy;
              f. The use of another’s advertising idea in your “advertisement”; or
              g. Infringing upon another’s copyright, trade dress or slogan in your
                   “advertisement”.

Form CG0001 (04/13) at 13–14.

       30.    The CGL form defines “Advertisement” as follows:

              “Advertisement” means a notice that is broadcast or published to the
              general public or specific market segments about your goods,
              products or services for the purpose of attracting customers or
              supporters. For the purposes of this definition:
              a. Notices that are published include material placed on the Internet
                  or on similar electronic means of communication; and
              b. Regarding web sites, only that part of a web site that is about
                  your goods, products or services for the purposes of attracting
                  customers or supporters is considered an advertisement.

Form CG0001 (04/13) at 12.

       31.    CGL Coverage B itself contains exclusions. See Form CG0001 (04/13) at 6–7.

       32.    Exclusion 2(a) to CGL Coverage B is titled “Knowing Violation of Rights of

Another.” That exclusion states:




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                This insurance does not apply to:
                a. Knowing Violation Of Rights Of Another
                    “Personal and advertising injury” caused by or at the direction of
                    the insured with the knowledge that the act would violate the
                    rights of another and would inflict “personal and advertising
                    injury”.

Form CG0001 (04/13) at 6.

          33.   Exclusion 2(i) to CGL Coverage B is titled “Infringement Of Copyright, Patent,

Trademark Or Trade Secret.” That exclusion states:

                This insurance does not apply to:
                ***
                i. Infringement Of Copyright, Patent, Trademark Or Trade
                    Secret
                    “Personal and advertising injury” arising out of the infringement
                    of copyright, patent, trademark, trade secret or other intellectual
                    property rights. Under this exclusion, such other intellectual
                    property rights do not include the use of another’s advertising
                    idea in your “advertisement”. However, this exclusion does not
                    apply to infringement, in your “advertisement”, of copyright, trade
                    dress or slogan.

Form CG0001 (04/13) at 6.

          34.   Exclusion 2(f) to CGL Coverage B is titled “Breach of Contract.” That exclusion

states:

                This insurance does not apply to:
                ***
                f. Breach of Contract
                    “Personal and advertising injury” arising out of a breach of
                    contract, except an implied contract to use another’s advertising
                    idea in your “advertisement”.

Form CG0001 (04/13) at 6.

          35.   The Policy contains other provisions that also limit coverage provided by the CGL

form. See Form SL1202 (12/15); Form CG2106 (05/14).

          36.   Form SL1202 (12/15) is an endorsement titled “Liability Plus Endorsement.” Part



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12(A) of that endorsement modifies CGL Coverage A, and it states:

              This insurance does not apply to:
              p. Access Or Disclosure of Confidential Or Personal
                  Information And Data-related Liability
                  Damages arising out of:
                  (1) Any access to or disclosure of any person’s or organization’s
                      confidential or personal information, including patents, trade
                      secrets, processing methods, customer lists, financial
                      information, credit card information, health information or
                      any other type of nonpublic information; or
                  (2) The loss of , loss of use of, damage to, corruption of, inability
                      to access, or inability to manipulate “electronic data” that
                      does not result from physical injury to tangible property.
                  However, this exclusion does not apply to liability for damage
                  because of “bodily injury”.

Form SL1202 (12/15) at 5.

       37.    Part 12(B) of Form SL1202 (12/15) modifies CGL Coverage B, and it states:

              This insurance does not apply to:
              Access Or Disclosure of Confidential Or Personal Information
              Damages arising out of:
              “Personal and advertising injury” arising out of any access to or
              disclosure of any person’s or organization’s confidential or personal
              information, including patents, trade secrets, processing methods,
              customer lists, financial information, credit card information, health
              information or any other type of nonpublic information.
              This exclusion applies even if damages are claimed for notification
              costs, credit monitoring expenses, forensic expenses, public
              relations expenses or any other loss, cost or expense incurred by
              you or others arising out of any access to or disclosure of any
              person’s or organization’s confidential or personal information.

Form SL1202 (12/15) at 5.

       38.    Form CG2106 (05/14) is titled “Exclusion – Access or Disclosure of Confidential

or Personal Information and Data-Related Liability – With Limited Bodily Injury Exception.” Part

A of that exclusion modifies CGL Coverage A, and it states:




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             This insurance does not apply to:
             p. Access Or Disclosure of Confidential Or Personal
                 Information And Data-related Liability
                 Damages arising out of:
                 (1) Any access to or disclosure of any person’s or
                      organization’s confidential or personal information, including
                      patents, trade secrets, processing methods, customer lists,
                      financial information, credit card information, health
                      information or any other type of nonpublic information; or
                 (2) The loss of, loss of use of, damage to, corruption of, inability
                      to access, or inability to manipulate electronic data.
                 This exclusion applies even if damages are claimed for
                 notification costs, credit monitoring expenses, forensic
                 expenses, public relations expenses or any other loss, cost or
                 expense incurred by you or others arising out of that which is
                 described in Paragraph (1) or (2) above. However, unless
                 Paragraph (1) above applies, this exclusion does not apply to
                 damages because of “bodily injury”. As used in this exclusion,
                 electronic data means information, facts or programs stored as
                 or on, created or used on, or transmitted to or from computer
                 software, including systems and applications software, hard or
                 floppy disks, CD-ROMs, tapes, drives, cells, data processing
                 devices or any other media which are used with electronically
                 controlled equipment.

Form CG2106 (05/14) at 1.

      39.    Part B of Form CG2106 (05/14) modifies CGL Coverage B, and it states:

             This insurance does not apply to:
             Access Or Disclosure of Confidential Or Personal Information
             “Personal and advertising injury” arising out of any access to or
             disclosure of any person’s or organization’s confidential or personal
             information, including patents, trade secrets, processing methods,
             customer lists, financial information, credit card information, health
             information or any other type of nonpublic information.
             This exclusion applies even if damages are claimed for notification
             costs, credit monitoring expenses, forensic expenses, public
             relations expenses or any other loss, cost or expense incurred by
             you or others arising out of any access to or disclosure of any
             person's or organization's confidential or personal information.

Form CG2106 (05/14) at 1.




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       B.        The Commercial Umbrella Coverage Form

       40.       Coverage A in Section I of the Policy’s Umbrella form (“Umbrella Coverage A”)

provides coverage for “bodily injury” and “property damage” that is caused by an “occurrence,”

subject to the Policy’s terms. Form CXS0001 (12/15) at 1.

       41.       As used in the Umbrella form, “Bodily injury” means “bodily injury, sickness, or

disease sustained by a person, including death resulting from any of these at any time,” and it

“includes mental anguish or other mental injury resulting from ‘bodily injury’.” Form CXS0001

(12/15) at 19.

       42.       The Umbrella form defines “Property damage” as follows:

                 “Property damage” means:
                 a. Physical injury to tangible property, including all resulting loss of
                     use of that property. All such loss of use shall be deemed to
                     occur at the time of the physical injury that caused it; or
                 b. Loss of use of tangible property that is not physically injured. All
                     such loss of use shall be deemed to occur at the time of the
                     “occurrence” that caused it.
                 For the purposes of this insurance, electronic data is not tangible
                 property.
                 As used in this definition, electronic data means information, facts or
                 programs stored as or on created or used on, or transmitted to or
                 from computer software, including systems and application software,
                 hard or floppy disks, CD-ROMs, tapes drives, cells, data processing
                 devices or any other media which are used with electronically
                 controlled equipment.

Form CXS0001 (12/15) at 22.

       43.       The Umbrella form defines “Occurrence” as follows.




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               “Occurrence” means:
               a. With respect to “bodily injury” or “property damage”, an accident,
                  including continuous or repeated exposure to substantially the
                  same general harmful conditions. This does not apply to your
                  liability (other than under a contract or agreement) for “bodily
                  injury” to your “employees” arising out of and in the course of
                  employment by you; or
               b. With respect to your liability (other than under a contract or
                  agreement) for “bodily injury” to your “employees” arising out of
                  and in the course of employment by you, “bodily injury” caused
                  by accident or disease.

Form CXS0001 (12/15) at 17.

       44.     Umbrella Coverage B itself contains exclusions.

       45.     Exclusion 2(j) in Umbrella Coverage A is titled “Damage to Property.” That

exclusion states:

               This insurance does not apply to:
               ***
               j. Damage To Property
                   “Property damage” to:
                   (1) Property:
                       (a) You own, rent, or occupy, including any costs or
                             expenses incurred by you, or any other person,
                             organization or entity, for repair, replacement,
                             enhancement, restoration, or maintenance of such
                             property for any reason, including prevention of injury
                             to a person or damage to another’s property; or
                       (b) Owned or transported by the insured and arising out of
                             the ownership, maintenance or use of a “covered auto”.
                   (2) Premises you sell, give away or abandon, if the “property
                       damage” arises out of any part of those premises;
                   (3) Property loaned to you;
                   (4) Personal property in the care, custody or control of any
                       insured;
                   (5) That particular part of real property on which you or any
                       contractor or subcontractor working directly or indirectly on
                       your behalf is performing operations, if the “property
                       damage” arises out of those operations; or
                   (6) That particular part of any property that must be restored,
                       repaired, or replaced because “your work” was incorrectly
                       performed on it.




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                   Paragraph j.(2) of this exclusion does not apply if the premises
                   are “your work” and were never occupied, rented or held for
                   rental by you.
                   Paragraphs j.(3), j.(4), j.(5) and j.(6) of this exclusion do not
                   apply to liability assumed under a railroad sidetrack agreement.
                   Paragraphs j.(3), and j.(4) of this exclusion do not apply to
                   liability assumed under a written Trailer Interchange agreement.
                   Paragraph j.(6) of this exclusion does not apply to “property
                   damage” included in the “products-completed operations
                   hazard”.

Form CXS0001 (12/15) at 5.

       46.     Coverage B in Section I of the Policy’s Umbrella form (“Umbrella Coverage B”)

provides coverage for “personal and advertising injury” to which the Policy applies, subject to the

Policy’s terms. Form CXS0001 (12/15) at 9.

       47.     The Umbrella form defines “Personal and advertising injury” as follows.

               “Personal and advertising injury” means injury, including
               consequential “bodily injury”, arising out of one or more of the
               following offenses:
               a. False arrest, detention or imprisonment;
               b. Malicious prosecution;
               c. The wrongful eviction from, wrongful entry into, or invasion of the
                    right of private occupancy of a room, dwelling or premises that a
                    person occupies, committed by or on behalf of its owner, landlord
                    or lessor;
               d. Oral or written publication, in any manner, of material that
                    slanders or libels a person or organization or disparages a
                    person’s or organization’s goods, products or services;
               e. Oral or written publication, in any manner, of material that
                    violates a person’s right of privacy;
               f. The use of another’s advertising idea in your “advertisement”; or
               g. Infringing upon another’s copyright, trade dress or slogan in your
                    “advertisement.”

Form CXS0001 (12/15) at 21.

       48.     The Umbrella form defines “Advertisement” as follows.




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               “Advertisement” means a notice that is broadcast or published to the
               general public or specific market segments about your goods,
               products or services for the purpose of attracting customers or
               supporters. For the purpose of this definition:
               a. Notices that are published include material placed on the Internet
                   or on similar electronic means of communication; and
               b. Regarding web-sites, only that part of a web-site that is about
                   your goods, products or services for the purposes of attracting
                   customers or supporter is considered an advertisement.

Form CXS0001 (12/15) at 19.

       49.     Umbrella Coverage B itself contains exclusions.

       50.     Exclusion 2(a)(1) in Umbrella Coverage B is titled “Knowing Violation of Rights

of Another.” That exclusion states:

               This insurance does not apply to:
               a. “Personal and advertising injury”
                   (1) Knowing Violation Of Rights of Another
                       Caused by or at the direction of the insured with the
                       knowledge that the act would violate the rights of another
                       and would inflict “personal and advertising injury”[.]

Form CXS0001 (12/15) at 10.

       51.     Exclusion 2(a)(6) in Umbrella Coverage B is titled “Breach of Contract.” That

exclusion states:

               This insurance does not apply to:
               a. “Personal and advertising injury”
               ***
                   (6) Breach of Contract
                       Arising out of a breach of contract, except an implied
                       contract to use another’s advertising idea in your
                       “advertisement”[.]

Form CXS0001 (12/15) at 10.

       52.     Exclusion 2(a)(9) in Umbrella Coverage B is titled “Infringement Of Copyright,

Patent, Trademark Or Trade Secret.” That exclusion states:




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              This insurance does not apply to:
              a. “Personal and advertising injury”
              ***
                  (9) Infringement of Copyright, Patent, Trademark Or Trade
                      Secret
                      Arising out of the infringement of copyright, patent,
                      trademark, trade secret or other intellectual property rights.
                      However, this exclusion does not apply to infringement, in
                      your “advertisement”, of copyright, trade dress or slogan.

Form CXS0001 (12/15) at 10.

       53.    The Policy contains other provisions that limit coverage provided by the Umbrella

form. Form CXS 23 00 05 14 is an endorsement titled “Exclusion – Access or Disclosure of

Confidential or Personal Information and Data-Related Liability.” Part A of that endorsement

modifies Umbrella Coverage A, and it states:

              This insurance does not apply to:
              w. Access Or Disclosure of Confidential Or Personal
                  Information And Data-related Liability
                  Damages arising out of:
                  (1) Any access to or disclosure of any person’s or organization’s
                       confidential or personal information, including patents, trade
                       secrets, processing methods, customer lists, financial
                       information, credit card information, health information or
                       any other type of nonpublic information; or
                  (2) The loss of, loss of use of, damage to, corruption of, inability
                       to access, or inability to manipulate electronic data.
                  This exclusion applies even if damages are claimed for
                  notification costs, credit monitoring
                  expenses, forensic expenses, public relations expenses or any
                  other loss, cost or expense incurred by you or others arising out
                  of that which is described in Paragraph (1) or (2) above.
                  As used in this exclusion, electronic data means information,
                  facts or programs stored as or on, created or used on, or
                  transmitted to or from computer software, including systems and
                  applications software, hard or floppy disks, CD-ROMs, tapes,
                  drives, cells, data processing devices or any other media which
                  are used with electronically controlled equipment.

Form CXS 23 00 05 14 at 1.

       54.    Part B of Form CXS 23 00 05 14 modifies Umbrella Coverage B, and it states:


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               This insurance does not apply to:
               Access Or Disclosure of Confidential Or Personal Information
               “Personal and advertising injury” arising out of any access to or
               disclosure of any person’s or organization’s confidential or personal
               information, including patents, trade secrets, processing methods,
               customer lists, financial information, credit card information, health
               information or any other type of nonpublic information.
               This exclusion applies even if damages are claimed for notification
               costs, credit monitoring expenses, forensic expenses, public
               relations expenses or any other loss, cost or expense incurred by
               you or others arising out of any access to or disclosure of any
               person’s or organization’s confidential or personal information.

Form CXS 23 00 05 14 at 1.

II.    The Underlying Action

       55.     On May 10, 2021, Kytch, Inc. sued TFGroup LLC, Jonathan Tyler Gamble, J.L.

Gamble Management LLC, and Taylor Commercial Foodservice, LLC in the Superior Court of

the State of California for the County of Alameda, case number RG21099155 (“the Underlying

Action”). A true and correct copy of the publicly available Complaint in the Underlying Action is

attached to this Complaint as Exhibit C.

       56.     According to Kytch, the Underlying Action is a case about corporate espionage.

       57.     Kytch alleges that Taylor Commercial Foodservice, LLC (“Taylor”) manufactures

the ice-cream and milkshake machines used in McDonald’s restaurants. And according to Kytch,

Taylor designed those machines so that only Taylor-certified technicians could service and repair

those machines.

       58.     Kytch, however, allegedly developed a device and online system (together known

as “the Kytch Solution”) that modernized and demystified Taylor’s machines, reducing the need

for Taylor-certified technicians. The Kytch Solution is, according to Kytch, a novel invention that

relies on confidential, proprietary, and trade-secret technology.

       59.     Kytch allegedly launched the Kytch Solution in 2019, and McDonald’s franchise



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operators began testing the Kytch Solution in their restaurants.

        60.      In 2020, Jonathan Tyler Gamble and J.L. Gamble Management LLC (together,

“Gamble”) allegedly expressed interest trying the Kytch Solution. According to the Complaint in

the Underlying Action, Gamble is a “major” McDonald’s franchisee in Tennessee and Mississippi.

        61.      To allow Gamble’s participation in a trial of the Kytch Solution while maintaining

the confidentiality of Kytch’s trade secrets, Kytch and Gamble allegedly executed a non-disclosure

agreement (“the NDA”). Among other things, the NDA allegedly:

        (a)      Required Gamble to maintain the confidentiality of information about the Kytch

                 Solution’s features, specifications, functionality, and performance;

        (b)      Provided that Gamble may not (and may not allow others) to “make derivative

                 works of, disassemble, reverse compile, reverse engineer, reproduce, distribute,

                 republish or download any part of” Kytch’s products or services; and

        (c)      Provided that Gamble may not (and may not allow others) to “access or use

                 [Kytch’s] services in order to build or support, and/or assist a third party in building

                 or supporting,” products or services competitive to Kytch.

        62.      But according to Kytch, Gamble violated the NDA, stole Kytch’s trade secrets, and

shared Kytch’s trade secrets with Kytch’s competitors.

        63.      TFGroup LLC allegedly helped misappropriate Kytch’s trade secrets.

        64.      More specifically, Kytch alleges that TFGroup LLC is a Tennessee distributor that

services Taylor ice-cream machines, competes with Kytch, and participated in obtaining Kytch’s

trade secrets.

        65.      Kytch alleges that Gamble shared the Kytch Solution with TFGroup LLC—who

Kytch did not authorize to receive Kytch’s trade secrets—and that TFGroup LLC removed a Kytch




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Solution device from one of Gamble’s restaurants.

       66.     Kytch also alleges that Gamble invited someone using the same telephone number

as TFGroup LLC’s managing partner to access Kytch and that the account tied to TFGroup LLC

obtained access to Kytch’s confidential information.

       67.     Once TFGroup LLC gained access to Kytch’s trade secrets, Kytch asserts, TFGroup

LLC shared that confidential information with Taylor.

       68.     Kytch alleges that TFGroup LLC and Taylor (who are collectively referred to in

the Underlying Action as “the Taylor Group”) knew that the Kytch information TFGroup obtained

was subject to a secrecy agreement. Kytch also alleges TFGroup LLC and Taylor induced Jonathan

Tyler Gamble to breach his confidentiality obligations in order to gain access to Kytch’s trade

secrets. Taylor is allegedly developing a device that directly competes with the Kytch Solution.

       69.     In response to this alleged espionage, Kytch brought the Underlying Action against

TFGroup LLC, Gamble, and Taylor.

       70.     Count One of the Underlying Action is a cause of action against Gamble for breach

of contract. That cause of action alleges Gamble breached the NDA and that Gamble intentionally

misappropriated Kytch’s confidential, proprietary, and trade-secret information

       71.     Count Two of the Underlying Action is a cause of action against TFGroup LLC

and Taylor for “tortious interference of contract”. According to that cause of action, TFGroup LLC

had knowledge of the NDA, acted intentionally to interfere with the NDA, and acted intentionally

to induce Gamble to breach the NDA. Those alleged intentional actions allegedly damaged Kytch.

       72.     Count Three of the Underlying Action is a cause of action against TFGroup LLC,

Gamble, and Taylor under the California Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426–

3426.11. According to that cause of action, TFGroup LLC misappropriated Kytch’s trade secrets,




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and TFGroup LLC allegedly knew or should have known that the misappropriated information

was confidential trade-secret information. TFGroup LLC’s acts were allegedly willful, malicious,

and fraudulent.

        73.     In the Underlying Action, Kytch seeks compensatory damages, punitive damages,

attorneys’ fees, and other relief from TFGroup LLC and the other defendants.

III.    The Parties’ Positions

        74.     Defendant tendered the defense of the Underlying Action to State Auto.

        75.     Defendant contends the Policy provides coverage for the Underlying Action.

        76.     State Auto contends there is no potential coverage for the Underlying Action under

the Policy.

        77.     As a result, a justiciable controversy exists between the parties as to their rights and

obligations under the Policy.

                             COUNT ONE: DECLARATORY JUDGMENT
                              (NO COVERAGE PROVISION APPLIES)

        78.     State Auto repeats and incorporates the allegations in paragraphs 1–77 as if fully

set forth herein.

        79.     The Underlying Action does not fall within the terms of any coverage provision of

the Policy.

        80.     The Underlying Action does not allege facts that implicate the Policy’s commercial

property coverage form, and the Policy’s commercial property coverage form does not provide

any coverage for the Underlying Action.

        81.     The Underlying Action does not allege facts that implicate the Policy’s employment

practice liability coverage form, and the Policy’s employment practice liability coverage form does

not provide any coverage for the Underlying Action.



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       82.       The Policy’s CGL Coverage A and Umbrella Coverage A do not provide coverage

for the Underlying Action, since the Underlying Action does not allege or seek damage for “Bodily

injury,” “Property damage,” or an “Occurrence,” as those terms are defined in the Policy.

       83.       The Underlying Action does not allege or seek damages for bodily injury, sickness,

or disease.

       84.       The Underlying Action does not allege or seek damages for physical injury to

tangible property or for loss of use of tangible property.

       85.       The Underlying Action does not allege or seek damages for loss of, loss of use of,

damage to, corruption of, inability to access, or inability to properly manipulate electronic data

resulting from physical injury to tangible property.

       86.       If the Underlying Action did allege or seek damages for property damage (it does

not), then Exclusion 2(j)(4) to CGL Coverage A and Exclusion 2(j)(4) to Umbrella Coverage A

would exclude damage to property in Defendant’s care, custody, or control.

       87.       The Underlying Action does not allege or seek damages for an accident. Instead,

the Underlying Action alleges that TFGroup and other defendants to the Underlying Action acted

intentionally.

       88.       Further, the Policy’s CGL Coverage B and Umbrella Coverage B do not provide

coverage for the Underlying Action, since the Underlying Action does not allege or seek damages

for “Personal and advertising injury,” as that term is defined in the Policy.

       89.       The Underlying Action does not allege or seek damages for false arrest, detention,

or imprisonment; malicious prosecution; wrongful eviction from, wrongful entry into, or invasion

of the right of private occupancy of a room, dwelling or premises that a person occupies, committed

by or on behalf of its owner, landlord or lessor; the publication of material that slanders or libels a




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person or organization or disparages a person’s or organization’s goods, products or services; or

the publication of material that violates a person’s right of privacy.

        90.     The Underlying Action does not allege or seek damages for any broadcast or

publication by Defendant to the general public (or to specific market segments) about Defendant’s

goods, products, or services for the purpose of attracting customers or supporters.

        91.     No other coverages potentially or arguably apply.

        92.     As a result, State Auto has no duty to defend or indemnify Defendant in connection

with the Underlying Action.

        93.     State Auto is entitled to a judicial declaration stating that State Auto has no duty to

defend Defendant against the Underlying Action because no coverage provisions even potentially

or arguably apply.

        94.     State Auto is also entitled to a judicial declaration stating that State Auto has no

duty to indemnify Defendant for any settlement on behalf of, or judgment rendered against,

Defendant in the Underlying Action, because no coverage provisions apply.

                        COUNT TWO: DECLARATORY JUDGMENT
         (EXCLUSION FOR ACCESS OR DISCLOSURE OF CONFIDENTIAL INFORMATION)

        95.     State Auto repeats and incorporates the allegations in paragraphs 1–77 as if fully

set forth herein.

        96.     Assuming the Underlying Action alleged and sought damages for “personal and

advertising injury” as defined in the Policy (it does not), unambiguous exclusions eliminate any

possibility of coverage.

        97.     The Underlying Action alleges and seeks damages for injury that arises out of the

alleged access to or disclosure of Kytch’s confidential or personal information, including Kytch’s

trade secrets, processing methods, and/or other nonpublic information.



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        98.     Thus, under Form SL1202 (12/15), Form CG2106 (05/14), and Form CXS 23 00

05 14—the text of which is found in paragraphs 36–39 and 53–54 of this Complaint—the Policy

unambiguously excludes any possibility of coverage for the Underlying Action, and State Auto

has no duty to defend or indemnify Defendant in connection with the Underlying Action.

        99.     State Auto is entitled to a judicial declaration stating that State Auto has no duty to

defend Defendant against the Underlying Action because the Policy’s exclusions for injuries that

arise out of access to or disclosure of confidential or personal information unambiguously exclude

any and all possibility of coverage.

        100.    State Auto is also entitled to a judicial declaration stating that State Auto has no

duty to indemnify Defendant for any settlement on behalf of, or judgment rendered against,

Defendant in the Underlying Action, because the Policy’s exclusions for injuries that arise out of

access to or disclosure of confidential or personal information unambiguously exclude any and all

coverage.

                        COUNT THREE: DECLARATORY JUDGMENT
               (EXCLUSION FOR KNOWING VIOLATION OF RIGHTS OF ANOTHER)

        101.    State Auto repeats and incorporates the allegations in paragraphs 1–77 as if fully

set forth herein.

        102.    Assuming the Underlying Action alleged and sought damages for “personal and

advertising injury” as defined in the Policy (it does not), unambiguous exclusions eliminate any

possibility of coverage.

        103.    The Underlying Action alleges and seeks damages for injury allegedly caused by

or at the direction of Defendant with the knowledge that the act would violate the rights of Kytch

and would inflict injury.

        104.    Thus, under Exclusion 2(a) in CGL Coverage B and Exclusion 2(a)(1) in Umbrella



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Coverage B—the text of which is found in paragraphs 32 and 50 of this Complaint—the Policy

does not provide coverage for the Underlying Action, and State Auto has no duty to defend or

indemnify Defendant in connection with the Underlying Action.

        105.    State Auto is entitled to a judicial declaration stating that State Auto has no duty to

defend Defendant against the Underlying Action because the Policy’s exclusions for injuries

caused by or at the direction of Defendant with the knowledge that the act would violate the rights

of another unambiguously exclude any and all possibility of coverage.

        106.    State Auto is also entitled to a judicial declaration stating that State Auto has no

duty to indemnify Defendant for any settlement on behalf of, or judgment rendered against,

Defendant in the Underlying Action, because the Policy’s exclusions for injuries caused by or at

the direction of Defendant with the knowledge that the act would violate the rights of another

unambiguously exclude any and all coverage.

                           COUNT FOUR: DECLARATORY JUDGMENT
                      (EXCLUSION FOR INFRINGEMENT OF TRADE SECRETS)

        107.    State Auto repeats and incorporates the allegations in paragraphs 1–77 as if fully

set forth herein.

        108.    Assuming the Underlying Action alleged and sought damages for “personal and

advertising injury” as defined in the Policy (it does not), unambiguous exclusions eliminate any

possibility of coverage.

        109.    The Underlying Action alleges and seeks damages for injury that arises out of the

alleged infringement of Kytch’s trade secret or other intellectual property rights.

        110.    Thus, under Exclusion 2(i) in CGL Coverage B and Exclusion 2(a)(9) in Umbrella

Coverage B—the text of which is found in paragraphs 33 and 51 of this Complaint—the Policy

does not provide coverage for the Underlying Action, and State Auto has no duty to defend or



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indemnify Defendant in connection with the Underlying Action.

        111.    State Auto is entitled to a judicial declaration stating that State Auto has no duty to

defend Defendant against the Underlying Action because the Policy’s exclusions for injuries that

arise out of the infringement of trade secret or other intellectual property rights unambiguously

exclude any and all possibility of coverage.

        112.    State Auto is also entitled to a judicial declaration stating that State Auto has no

duty to indemnify Defendant for any settlement on behalf of, or judgment rendered against,

Defendant in the Underlying Action, because the Policy’s exclusions for injuries that arise out of

the infringement of trade secret or other intellectual property rights unambiguously exclude any

and all coverage.

                             COUNT FIVE: DECLARATORY JUDGMENT
                            (EXCLUSION FOR BREACH OF CONTRACT)

        113.    State Auto repeats and incorporates the allegations in paragraphs 1–77 as if fully

set forth herein.

        114.    Assuming the Underlying Action alleged and sought damages for “personal and

advertising injury” as defined in the Policy (it does not), unambiguous exclusions eliminate any

possibility of coverage.

        115.    The Underlying Action alleges and seeks damages for injury arising out of

Gamble’s alleged breach of contract.

        116.    Thus, under Exclusion 2(f) in CGL Coverage B and Exclusion 2(a)(6) in Umbrella

Coverage B—the text of which is found in paragraphs 34 and 52 of this Complaint—the Policy

does not provide coverage for the Underlying Action, and State Auto has no duty to defend or

indemnify Defendant in connection with the Underlying Action.

        117.    State Auto is entitled to a judicial declaration stating that State Auto has no duty to



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defend Defendant against the Underlying Action because the Policy’s exclusions for injuries that

arise out of breach of contract unambiguously exclude any and all possibility of coverage.

       118.    State Auto is also entitled to a judicial declaration stating that State Auto has no

duty to indemnify Defendant for any settlement on behalf of, or judgment rendered against,

Defendant in the Underlying Action, because the Policy’s exclusions for injuries that arise out of

breach of contract unambiguously exclude any and all coverage.

                                          JURY DEMAND

       State Auto demands a trial by jury on all issues so triable.

                                       RELIEF REQUESTED

       WHEREFORE, Plaintiff State Auto Property and Casualty Insurance Co. respectfully asks

for the following relief:

       A.      A declaration that there is no coverage for the Underlying Action under the Policy,

or under any other policy of insurance issued by State Auto;

       B.      A declaration that State Auto has no duty to defend Defendant against the

Underlying Action;

       C.      A declaration that State Auto has no duty to indemnify Defendant for any settlement

on behalf of or judgment rendered against CCI in the Underlying Action;

       D.      Attorneys’ fees and costs of suit incurred in this action; and

       E.      Such other, further, or different relief to which State Auto may be entitled.

       Respectfully submitted this the 23rd day of November, 2021,




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                              SCANDURRO & LAYRISSON, L.L.C.

                              /s/ Timothy D. Scandurro
                              TIMOTHY D. SCANDURRO, Bar #18424
                              DEWEY M. SCANDURRO, Bar #23291, T.A.
                              607 St. Charles Avenue
                              New Orleans, LA 70130
                              Telephone:     (504) 522-7100
                              Facsimile:     (504) 529-6199
                              tim@scanlayr.com
                              dewey@scanlayr.com
                              Attorneys for Plaintiff
                              State Auto Property and Casualty Insurance Co.




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